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  8                       UNITED STATES DISTRICT COURT
  9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
 10                              SANTA ANA DIVISION
 11 DIGITAL MAP PRODUCTS, INC.,                   Case No. 8:17-cv-00707-JVS
                                                  (KESx)
 12          Plaintiff,
                                                  ORDER DISMISSING ACTION
 13 v.                                            WITH PREJUDICE PURSUANT
                                                  TO STIPULATION
 14 GEOREPLICA CORPORATION,
                                                  Dept:    Courtroom 10C
 15              Defendant.                       Judge:   Hon. James V. Selna
 16
 17        The Court having reviewed and considered the Stipulation for Dismissal of
 18 Action with Prejudice of Plaintiff Digital Map Products, Inc. and Defendant
 19 GeoReplica Corporation, by and through their respective counsel, and being fully
 20 advised in the premises and good cause shown,
 21        IT IS HEREBY ORDERED that the Stipulation is approved and this action
 22 shall be dismissed with prejudice pursuant to Federal Rule of Civil Procedure
 23 41(a)(1)(A)(ii), with each party to bear its own attorney’s fees and costs.
 24
 25
 26
 27 DATED: June 22, 2018            _____________________________
 28                                             Honorable James V. Selna

                              ORDER GRANTING DISMISSAL OF ACTION WITH PREJUDICE
                                                   CASE NO. 8:17-CV-00707-JVS (KESX)
Case 8:17-cv-00707-JVS-KES Document 54 Filed 06/22/18 Page 2 of 2 Page ID #:757



  1                                                     United States District Judge
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                                     ORDER GRANTING DISMISSAL OF ACTION WITH PREJUDICE
                                                          CASE NO. 8:17-CV-00707-JVS (KESX)
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